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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 JOSEPH HARDESTY, et al.                            :   Case No. 1:16-cv-00298
                                                    :
                                Plaintiff,          :   Judge Timothy S. Black
                                                    :
        v.                                          :
                                                    :   PLAINTIFFS’ FIRST SET OF
 THE KROGER CO., et al.                             :   REQUESTS FOR ADMISSION,
                                                    :   INTERROGATORIES, AND
                                Defendants.         :   REQUESTS FOR PRODUCTION OF
                                                    :   DOCUMENTS DIRECTED TO
                                                    :   DEFENDANT KROGER

       Pursuant to Rules 26, 33, 34 and 36 of the Federal Rules of Civil Procedure, Plaintiffs

Joseph Hardesty, Derek Chipman, and Madeline Hickey (“Plaintiffs”) hereby submit their First

Set of Requests for Admission, Interrogatories, and Requests for Production of Documents

Directed to Defendant The Kroger Co. and Kroger G.O., LLC (“Defendant” or “Kroger”).

Plaintiffs respectfully request that Defendant provide responses to the offices of Stagnaro, Saba &

Patterson Co., L.P.A., 2623 Erie Avenue, Cincinnati, Ohio 45208, within thirty (30) days of the

service of these Requests.

       Each of the following Requests for Admission, Interrogatories, and Requests for

Production of Documents shall be deemed continuing and Defendant is requested, pursuant to

Rules 26(a) and 26(e) of the Federal Rules of Civil Procedure, to provide, by way of supplementary

answers thereto, such additional information as may hereafter be obtained by the Defendant or

persons acting on its behalf.

                             INSTRUCTIONS AND DEFINITIONS

1.     In answering these Requests for Admission, Interrogatories, and Requests for Production

of Documents, Defendant is to divulge all information in its possession, custody, or control, or



                                                1
                                                                           Attachment 1
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63.    All documents which support or in any way relate to your “fourteenth affirmative defense”

that the Plaintiff and potential class members they seek to represent “lack standing to bring certain

asserted claims or to seek certain forms of relief sought therein.”

RESPONSE:



64.    Any other documents relating to any affirmative defense set forth in the Answer to the

Complaint.

RESPONSE:




Miscellaneous

65.    Personnel files of Joseph Hardesty, Derek Chipman, and Madeline Hickey.

RESPONSE:



66.    Personnel files for any other individual whom Kroger intends to depose in this matter.

RESPONSE:



67.    Copies of all resumes on file for the Named Plaintiffs and all other individuals who have

submitted opt-in/consent forms for this lawsuit.

RESPONSE:



68.    Performance appraisals for the Named Plaintiffs and all other individuals who have

submitted opt-in/consent forms for this lawsuit.

RESPONSE:

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74.     A copy of any report prepared by a designated expert and Defendant’s entire file on the expert,

including correspondence with Defendant’s attorneys to the extent that information is discoverable

under Fed. R.Civ. P. 26(b)(4)(C) and (D).

RESPONSE:



75.     True and accurate copies of all documents Defendant intends to introduce at trial or during

any hearing or deposition in this matter.

RESPONSE:



76.     All documents identified, relied upon, or referred to in answering Plaintiff’s Interrogatories,

or any Document Request.

RESPONSE:



77.     Copies of any documents not produced with respect to any other request that Defendant

believes is relevant to this litigation.

RESPONSE:

                                               Respectfully submitted,

                                               /s/ Joshua M. Smith
                                               Peter A. Saba (0055535)
                                               Joshua M. Smith (0092360)
                                               Sharon J. Sobers (0030428)
                                               STAGNARO, SABA
                                               & PATTERSON CO., LPA
                                               2623 Erie Avenue
                                               Cincinnati, Ohio 45208
                                               (513) 533-2701
                                               (513) 533-2733 (fax)
                                               pas@sspfirm.com
                                               Attorneys for Plaintiffs

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                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and accurate copy of the foregoing was
served electronically through the District Court’s electronic case filing system upon David K.
Montgomery, Esq., Jackson Lewis P.C., PNC Center, 26th Floor, 201 East Fifth Street, Cincinnati,
Ohio 45202, this 8th day of July, 2016.


                                            Joshua M. Smith (0092360)




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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

JOSEPH HARDESTY, et al.                          :   Case No. 1:16-cv-00298
                                                 :
                              Plaintiff,         :   Judge Timothy S. Black
                                                 :
       v.                                        :
                                                 :   DEFENDANTS’ RESPONSES TO
THE KROGER CO., et al.                           :   PLAINTIFFS’ FIRST SET OF
                                                 :   INTERROGATORIES AND
                              Defendants.        :   REQUESTS FOR PRODUCTION OF
                                                 :   DOCUMENTS
                                                 :
                                                 :


       Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure, Defendants The

Kroger Co. and Kroger G.O., LLC (collectively, “Defendants” or “Kroger”) hereby respond to

the First Set of Interrogatories and Requests for Production of Documents Directed to Defendant

The Kroger Co. and Kroger G.O., LLC (collectively, the “Discovery Requests”) propounded by

Plaintiffs Joseph Hardesty, Derek Chipman, and Madeline Hickey (collectively, “Plaintiffs”) as

follows.

                                   GENERAL OBJECTIONS

       Defendants make the following general objections to the Discovery Requests, and each

such general objection is hereby incorporated by reference, as if fully stated therein, with respect

to each of Defendants’ specific responses as appropriate:

       1.      Defendants object to the Discovery Requests to the extent they seek information

or documents that are neither relevant to any party’s claim or defense nor proportional to the

needs of the case.




                                                 1
                                                                                    Attachment 2
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67.    Copies of all resumes on file for the Named Plaintiffs and all other individuals who have

submitted opt-in/consent forms for this lawsuit.

       RESPONSE:

       Subject to and without waiving the foregoing objections, Defendants respond as
       follows: Defendants have produced and/or will produce non-privileged, non-work-
       product responsive documents.

68.    Performance appraisals for the Named Plaintiffs and all other individuals who have

submitted opt-in/consent forms for this lawsuit.

       RESPONSE:

       Defendants object to this Request to the extent it is vague and ambiguous. Subject
       to and without waiving the foregoing objections, Defendants respond as follows:
       Defendants have produced and/or will produce non-privileged, non-work-product
       responsive documents, to the extent such documents exist.

69.    Pay stubs or other related documentation indicating the amount of pay received by all

Class members.

       RESPONSE:

       Defendants object to this Request on the grounds that it is vague, ambiguous,
       overbroad and unduly burdensome, and seeks documents that are not relevant to
       any party’s claim or defense nor proportional to the needs of the case. Defendants
       further object to this Request on the ground that it seeks confidential and/or private
       personnel information of individuals who are not parties to this case. Defendants
       further object to this Request to the extent it seeks documents protected from
       discovery by the attorney-client privilege and/or work product doctrine.

70.    Pay stubs or other related documentation indicating the amount of pay received by the

Named Plaintiffs, and any individuals who have submitted opt-in forms to date.

       RESPONSE:

       Defendants object to this Request on the grounds that it is vague, ambiguous,
       overbroad and unduly burdensome, and seeks documents that are not relevant to
       any party’s claim or defense nor proportional to the needs of the case. Defendants
       further object to this Request to the extent it seeks documents protected from
       discovery by the attorney-client privilege and/or work product doctrine. Subject to

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        Production of Documents Nos. 1-77 propounded by Plaintiffs, which objections are
        incorporated by reference as if fully stated herein. Defendants further object to this
        Request on the grounds that it is overbroad, unduly burdensome, vague and
        ambiguous, and seeks documents that are not relevant to any party’s claim or
        defense nor proportional to the needs of the case. Defendants further object to this
        Request to the extent it seeks documents protected from discovery by the attorney-
        client privilege and/or work product doctrine. Defendants further object to this
        Request to the extent it seeks confidential and/or private personnel information of
        individuals who are not parties to this case. Subject to and without waiving the
        foregoing objections, Defendants respond as follows: Defendants have produced
        and/or will produce non-privileged, non-work-product responsive documents.

77.     Copies of any documents not produced with respect to any other request that Defendant

believes is relevant to this litigation.

        RESPONSE:

        Defendants object to this Request on the grounds that it is overbroad and unduly
        burdensome, and seeks documents that are not proportional to the needs of the case.
        Defendants further object to this Request to the extent it seeks documents protected
        from discovery by the attorney-client privilege and/or work product doctrine.
        Defendants further object to this Request to the extent it seeks confidential and/or
        private personnel information of individuals who are not parties to this case.



                                                   /s/ David K. Montgomery
                                                   David K. Montgomery (0040276)
                                                   Jackson Lewis PC
                                                   PNC Center, 26th Floor
                                                   201 East 5th Street
                                                   Cincinnati, OH 45202
                                                   Telephone: (513) 898-0050
                                                   Facsimile: (513) 898-0051
                                                   David.Montgomery@jacksonlewis.com

                                                   Attorney for Defendants




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                                CERTIFICATE OF SERVICE

         I certify that on September 9, 2016 the foregoing Responses to Plaintiffs’ First Set of

Interrogatories and Requests for Production of Documents were served via e-mail and U.S. Mail

on the following counsel of record:

Peter A. Saba
Joshua M. Smith
Sharon J. Sobers
Stagnaro, Saba & Patterson Co., L.P.A.
2623 Erie Avenue
Cincinnati, OH 45208


                                                    /s/ David K. Montgomery
                                                    David K. Montgomery

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Matthew D. Soaper

From:                Martin, Ryan M. (Cincinnati) <Ryan.Martin@jacksonlewis.com>
Sent:                Monday, February 21, 2022 2:14 PM
To:                  Peter A. Saba, Esq.; Joshua M. Smith, Esq.; Sharon J. Sobers; Matthew D. Soaper
Cc:                  Montgomery, David K. (Cincinnati)
Subject:             Hardesty, et al. v. Kroger - Additional Evaluations
Attachments:         20220218203412233.pdf

Categories:          Waiting on Reply


Good Afternoon – David and I wanted to message you about an issue that has just come to our attention. Upon
reviewing several exhibits listed in Plaintiffs’ exhibit list and documents concerning potential witnesses, it struck us as
odd that only two performance evaluations have been produced in this matter even though both sides requested them
in discovery. We began reviewing this issue and realized that none of the Named Plaintiffs or initial opt‐ins had
performance evaluation documents because they did not work for Kroger long enough. As opt‐ins came into the case
later, we requested, obtained and produced the personnel files of those individuals. After realizing that only two files
were produced that contained evaluations, we immediately checked with Kroger to see if additional opt‐ins had
evaluations for 2015 or 2016. Those additional evaluations, which we just received late Friday night, are attached.

As best we can tell, it appears that performance evaluations for several opt‐ins were not yet contained in their files
(except for the files of Rhonda Furr and Lawanna Haskins) at the time they were gathered and produced. We believe
this issue escaped both sides’ attention during discovery, although the opt‐ins certainly would have been aware they
had evaluations, because the initial group of Plaintiffs and opt‐ins never had any.

The attached documents have not yet been Bates numbered because we wanted to get them to you as soon as
possible. We will, however, be re‐sending them with Bates numbers included (likely by tomorrow). I also just noticed
that some of these were tilted in the scanner (although they all appear readable still). I’ll make sure that issue is correct
upon re‐sending as well.

In the meantime, please let us know if you want to discuss these documents further.

Thanks,

Ryan


            Ryan M. Martin
            Attorney at Law
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            Suite 112


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                                                                                                   Attachment 4
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